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               EXHIBIT 14
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  New Chromecast Audio features let you play hi-res
  audio in every room at once
  Elyse Betters | 10 December 2015

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  Google just updated its audio-only dongle in a major way.
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  Chromecast Audio is a new $35 device from Google. It's all about streaming audio
  from online services over Wi-Fi to otherwise offline speakers, thus bringing the
  simplicity we loved about the original Chromecast to our until-now disconnected
  speakers. Pocket-lint's review will tell you more about it.

  And today it's been updated to make it more comparable to Sonos, a smart
  speaker system that wirelessly streams all your Hi-Fi music to any room, or every
  room. You control your Sonos experience with one app. Well, thanks to a new
  software rollout, Chromecast Audio can pretty much do the same thing.

                         READ: Sonos: What is it and what are the alternatives?

  Google has given the hockey-puck-shaped device support for high-resolution
  audio. It supports up to 96KHz/24bit lossless audio playback, which is greater
  than CD quality. Go here to learn more about hi-res audio. Of course you'll still
  need high fidelity audio equipment/speakers in order for this feature to work.

  Apart from hi-res audio, the Chromecast Audio now offers a multi-room feature,
  so you can fill every room, or wherever you have a Chromecast Audio connected,
  with synchronous tunes. It groups your dongles together so you can stream the
  same song to multiple speakers at once.

  Sort of how you control Sonos through its app, you can use the Chromecast app
  for iOS or Android to create groups for your Chromecast Audio-connected

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  speakers, and then those groups will appear as streaming options when you press
  the cast button in supported apps and streaming services.

  These new features will arrive today as an automatic software update.

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